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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

WAYNE MILLER, ON BEHALF OF                    §
HIMSELF AND ALL OTHERS                        §
SIMILARLY SITUATED,                           §
                                              §
PLAINTIFF                                     §
                                              §
                                              §
v.                                            §                         CA 1:18-cv-538-RP
                                              §
MV TRANSPORTATION, INC.,                      §
                                              §
DEFENDANT                                     §


        PLAINTIFF’S FIRST AMENDED COLLECTIVE ACTION COMPLAINT

       Plaintiff Wayne Miller (“Plaintiff” or “Miller”), on behalf of himself and all others similarly

situated, files this First Amended Collective Action Complaint against Defendant MV

Transportation, Inc. (“Defendant” or “MVTI”).

                            I.      PRELIMINARY STATEMENT

1.1    This is an action for failure to pay overtime compensation brought under the Fair Labor

Standards Act (“FLSA”). MVTI contracts with Capital Metro in Austin, Texas to provide services

to Capital Metro. Miller was employed by MVTI in its maintenance department as a parts manager.

MVTI employed Miller from October 1, 2015 through March 2, 2018.

1.2    Miller was a non-exempt employee and was paid on an hourly basis.

1.3    Throughout his employment, MVTI would shave or reduce Miller’s reported hours. MVTI

would also dock Miller thirty minutes per day for lunch even though no lunch was taken. Both of

these actions resulted in underpayment of both Miller’s regular and overtime hours.
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1.4     Wayne Miller, on behalf of himself and all others similarly situated, brings this collective

action to recover overtime compensation, liquidated damages, attorney’s fees, litigation costs,

costs of court, and pre-judgment and post-judgment interest under the provisions of the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (“FLSA”).

1.5     For at least three years prior to the filing of this Complaint, MVTI willfully committed

violations of the FLSA by 1) shaving or reducing the hours of its hourly, non-exempt maintenance

employees and 2) deducting 30 minutes of pay per day for “lunch” from these same employees,

even when they worked through lunch. Both actions were taken by Defendant to minimize or

eliminate its obligations to pay such employees overtime compensation when they worked over

forty hours in a week.

                              II.     JURISDICTION AND VENUE

2.1     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this civil action

arises under the Constitution, laws, or treaties of the United States; specifically, the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (“FLSA”). Jurisdiction is further

conferred on this Court by 29 U.S.C. § 216(b) and by the provisions of 28 U.S.C. § 1337.

2.2     The Court has personal jurisdiction over MVTI because this entity conducts business in

Texas and has entered into a relationship with Miller in Texas and has committed actions in Texas

that give rise to this cause of action.

2.3     Venue is proper in the Western District of Texas, Austin Division, pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events or omissions giving rise to the claims herein

occurred in this District.




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                                           III.   PARTIES

A.      Plaintiff

3.1     Wayne Miller is an individual residing in Austin, Travis County, Texas.           His notice of

consent is attached to Plaintiff’s Original Collective Action Complaint as Exhibit A.

B.      Defendant

3.2     MVTI is a foreign corporation formed and existing under the laws of the State of California

and maintains and operates its principal office in Dallas, Texas.

3.3     MVTI was an employer of Miller and those similarly situated as defined by 29 U.S.C.

§203(d).

3.4     MVTI has already made an appearance in this matter.

                                     IV.     FLSA COVERAGE

4.1     For purposes of this action, the “relevant period” is defined as such period commencing on

the date that is three years prior to the filing of this action, and continuing thereafter.

4.2     At all relevant times, MVTI had gross operating revenue in excess of $500,000.00.

4.3     At all relevant times, MVTI has been, and continues to be, an “employer” engaged in

interstate commerce and/or the production of goods for commerce, within the meaning of the

FLSA, 29 U.S.C. § 203.

4.4     At all relevant times, MVTI employed “employees”, including Miller and those similarly

situated, within the meaning of the FLSA, 29 U.S.C. § 203.

4.5     At all relevant times, MVTI employed two or more persons in interstate commerce.

4.6     At all relevant times, MVTI has been an “enterprise” engaged in commerce as defined in

29 U.S.C. § 203.




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4.7    At all relevant times, Miller and those similarly situated were individually engaged in

interstate commerce or in the production of goods for commerce while performing their job duties

for MVTI.

4.8    At all relevant times, MVTI has been subject to the requirements of the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

                              V.     FACTUAL ALLEGATIONS

5.1    MVTI contracts with Capital Metro in Austin Texas to provide services to Capital Metro.

5.2    MVTI employed Miller as a parts manager during the three-year period preceding the filing

of this Complaint.

5.3    MVTI paid Miller and those similarly situated on an hourly basis, but would shave the

hours reflected on their time cards to avoid and/or minimize payment of overtime compensation.

MVTI would also dock Miller and those similarly situated thirty minutes per day for lunch even

though they worked through lunch.

5.4    Miller and those similarly situated consistently worked over forty hours per week.

5.5    Miller and those similarly situated were non-exempt employees.

5.6    As a result of its time shaving and lunch docking scheme, MVTI failed to pay Miller and

those similarly situated for all overtime hours worked.

5.7    MVTI maintained control, oversight, and direction over its operations, including

employment practices.

5.8    MVTI maintained and exercised the power to hire, fire, and discipline Miller and those

similarly situated during their employment with MVTI.

5.9    Miller and those similarly situated were required to comply with MVTI’s policies and

procedures in performing their work during their employment with MVTI.




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5.10   At all times relevant hereto, MVTI knew of, approved of, and benefited from the regular

and overtime work of Miller and those similarly situated.

5.11   MVTI did not make a good faith effort to comply with the overtime provisions contained

within the FLSA.

5.12   MVTI’s actions were willful and in blatant disregard for the federally protected rights of

Miller and those similarly situated.

                       VI.     COLLECTIVE ACTION ALLEGATIONS

6.1    Other employees have been victimized by the pattern, practice, and policy of MVTI that is

in violation of the FLSA. Miller is aware that the illegal practices and policies of MVTI have been

imposed on other workers.

6.2    Miller brings his claim for relief on behalf of all hourly, non-exempt maintenance

employees whose time was unlawfully shaved and/or whose time was automatically deducted

thirty minutes in pay per day for “lunch” by MVTI at any time three years prior to the filing of this

lawsuit, to the entry of judgment in this lawsuit (Collective Class).

6.3    MVTI paid Miller and the Collective Class on an hourly basis and suffered and permitted

them to work more than forty hours per week. However, MVTI did not pay Miller or the Collective

Class overtime compensation for all hours worked over forty per week.

6.4     Though their job titles may vary, the members of the Collective Class were all subjected

to MVTI’s time shaving and lunch docking scheme.

6.5    Miller’s experiences are typical of the experiences of other similarly situated employees.

6.6    MVTI’s operations with respect to Miller and the Collective Class and wages paid to Miller

and the Collective Class are substantially similar, if not identical.




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6.7    MVTI’s pattern of shaving time and docking employees 30 minutes for lunch to avoid its

overtime obligations as mandated under the FLSA results from MVTI’s general application of

policies and practices, and does not depend on the personal circumstances of the Miller and the

Collective Class.

6.8    Although the issue of damages may be individual in character, there is no detraction from

the common nucleus of liability facts.

6.9    Miller files this case as an “opt-in” collective action as specifically allowed by 29 U.S.C.

§ 216(b). Miller brings these claims for relief for violations of the FLSA as a collective action

pursuant to 29 U.S.C. § 216(b). Miller brings these claims on his behalf and on behalf of those

similarly situated who have not been fully compensated for all work performed, time spent, and

activities conducted for the benefit of MVTI.

6.10   Miller requests that MVTI identify all prospective members of the Collective Class in order

that proper notice of their right to consent to participation in this collective action may be

distributed, including their names, dates of employment, job titles, last known addresses, and

telephone numbers.

6.11   Miller seeks to represent those members of the above-described group who, after

appropriate notice of their ability to opt into this action, have provided consent in writing to be

represented by Miller’s counsel as required by 29 U.S.C. § 216(b).

6.12   Those individuals who choose to opt in will be listed on subsequent pleadings and copies

of the written consents will be incorporated by reference.

6.13   Miller will fairly and adequately represent and protect the interests of those similarly

situated who opt into this action.




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                 VII.    CAUSE OF ACTION: VIOLATION OF THE FLSA

                                 Failure to Pay Overtime Wages

7.1    Each and every allegation contained in the foregoing paragraphs is re-alleged as if fully set

forth herein.

7.2    Miller and all others similarly situated are hourly, non-exempt maintenance employees.

7.3    As non-exempt employees under the FLSA, if Miller and all others similarly situated

worked over forty hours in a workweek, they were entitled to overtime pay.

7.4    Over the course of the relevant period, Miller and all others similarly situated routinely

worked in excess of forty hours per week.

7.5    Even though Miller and all others similarly situated worked in excess of forty hours per

week, MVTI failed to pay them an overtime compensation for all hours worked in excess of forty

per week.

7.6    MVTI has violated 29 U.S.C. § 201 et seq. by failing to pay Miller and all others similarly

situated overtime premiums for all hours worked over forty per workweek.

7.7    In further violation of the FLSA, MVTI has failed to maintain accurate employee pay

records, including the true number of hours worked per workweek by Miller and all others

similarly situated.

7.8    No excuse, legal justification or exemption excuses MVTI’s failure to pay Miller and all

others similarly situated overtime compensation for all hours worked over forty in a workweek.

7.9    MVTI has failed to make a good faith effort to comply with the FLSA. Instead, MVTI

knowingly, willfully, or with reckless disregard carried out its illegal pattern or practice regarding

overtime compensation.




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7.10   Miller and the Collective Class seek all unpaid overtime compensation and an additional

equal amount as liquidated damages, as well as reasonable attorney’s fees, costs, and litigation

expenses, including expert witness fees, as provided by 29 U.S.C. § 216(b), along with pre- and

post-judgment interest at the highest rate allowed by law.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Wayne Miller and all others

similarly situated respectfully pray that Defendant MV Transportation, Inc. be cited to appear, and

that, upon trial of this matter, Miller and the Collective Class recover the following against MV

Transportation, Inc.:

       a.      Actual damages for the full amount of their unpaid overtime compensation;

       b.      Liquidated damages in an amount equal to their unpaid overtime compensation;

       c.      Reasonable attorney’s fees, costs and expenses of this action, including expert
               witness costs, as provided by the FLSA;

       d.      Pre-judgment and post-judgment interest at the highest rates allowed by law; and

       e.      Such other and further relief, at law or in equity, as this Honorable Court may find
               proper.


                                      Respectfully submitted,


                                      /s/ Douglas B. Welmaker
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